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                              UNITED STATES DISTRICT COURT


                                DISTRICT OF SOUTH DAKOTA


                                     SOUTHERN DIVISION



                                              >H


UNITED STATES OF AMERICA,                     *              CR 20-40029
                                              *


                       Plaintiff,             *
                                              *


       -vs-                                   *       MEMORANDUM OPINION
                                              *              AND ORDER
MICHAEL DESHONE MATHEWS,                      *
                                              *


                       Defendant.             *
                                              *




       On September 3,2021,the Assistant Federal Public Defender(FPD)appointed to represent
individuals seeking relief under the First Step Act filed a Motion for Compassionate Release under
18 U.S.C. § 3582(c)(1)(A) on behalf of Michael Deshone Mathews("Mathews"). (Doc. 40.) The
government opposes the motion.(Doc. 42.) A reply was submitted by the FPD. (Doc. 44.)
       On September 28, 2021,the FPD filed a supplement to advise the Court that "the BOP has
released Michael through RRM Sacramento,a residential reentry managementfield office. His exact
location is unknown at this time. His release date remains 11 December 2021." (Doc.47,p. 1.) The
FDP argued that Mathews's motion for compassionate release is not moot because"he is still serving
his original sentence and will continue to do so until his release date." Id. "If he is at a halfway
house, then he remains vulnerable to the spread of COYlD-19. And if he is on home confinement,
the BOP's designation to home confinement can be revoked at any time." Id.
       On September 30, 2021, the Court issued an Order deferring ruling on the motion for
compassionate release, stating in part: "In order to rule on Mathews's motion for compassionate
release,the Court must be advised where he is being housed or whether he is on home confinement.
These are important considerations in determining Mathews's risk of being re-infected with
COVlD-19." (Doc. 48.)
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           The government immediately responded to the Court's Order and advised the Court that the
BOP confirmed Mathews is currently on home confinement and has a release date ofDecember 11,
       \

2021. (Doc. 49.) Though the government does not indicate where Mathews is residing, his release
plan shows that he plarmed to reside with his wife and their 18-year-old son at her home in Oak
Grove, California, find employment, and possibly pursue an Associate's degree. See No.
2:15-CR-OOl 18,Doc. 188-7(E.D. Cal. April 26,2021). It appears that Mathews has a stable support
system. Id.

                                          BACKGROUND

           On Jime 11, 2015, Mathews was charged with several drug distribution and possession,
money laundering, and firearms crimes in the U.S. District Court for the Eastern District of
California. See United States v. Mathews,'Ho. 2:15-CR-00118, Doc. 15(E.D. Cal. June 11,2015).
On February 12,2016, Mathews entered aplea ofguilty to one count ofconspiracy to distribute and
to possess with intent to distribute oxycodone, and one count of conspiracy to distribute and to
possess heroin with an intent to distribute it. Id., Doe. 57. The other charges were dismissed.
Mathews was sentenced on May 27, 2016. His guideline range was 168 to 210 months. Id., Doc.
84. The government agreed to a sentence of 135 months imprisonment based on the sentencing
factors under 18 U.S.C. § 3553(a). Id, Doc. 81. The California District Court imposed a below-
guideline sentence of135 months as to each ofthe two counts,to be served concurrently,for a total
term of 135 months. Id., Doc. 86.

           On November 15, 2017, Mathews was transferred to the Yankton Federal Prison Camp in
Yankton, South Dakota. (CR 20-40029, Doe. 28, PSR ^ 5.) On February 4, 2020, Mathews was
charged in this Court for escape under 18U.S.C. § 751(a), for leaving the Yankton Federal Prison
Camp and voluntarily returning about 10 minutes later. (Doc. 1,Indictment; Doe.28,PSR T| 5.) He
was caught by prison officials and found to be carrying a cell phone, chewing tobacco and alcohol.
(Doc. 28,PSR 5.) He pleaded guilty to escape, and this Court sentenced him to four months in
prison, consecutive to the 135-month sentence imposed in the Eastern District of California. (Doc.
36.)
           On August 30, 2021, the district court in the Eastern District of California, Chief Judge
Kimberly Mueller, granted Mathews's motion for compassionate release filed in that court and
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reduced his 135-month sentence to time served. (Doc. 40-1.) Mathews is still serving the four-
month sentence imposed by this Court for his escape, but he is now serving that sentence in home
confinement. When his motion for compassionate release was filed in this Court on September 3,
2021, Mathews was incarcerated at the correctional institution in Sandstone, Minnesota (FCI
Sandstone).
       Mathews is a 48-year-old African American male. Mathews's prison records show that he
suffers from obesity,severe opioid use disorder,severe cannabis use disorder,severe cocaine-related
disorder, and moderate hallucinogen use disorder. (Doc. 41, p. 22.) Mathews argued that being
incarcerated with these medical conditions, in combination with being a 48-year-old African
American male, makes him particularly vulnerable to COVID-19. He recovered from COVID-19,
and he has been fully vaccinated.
       In support of his motion for compassionate release, Mathews submitted two declarations of
Dr. Abdelghany. (Docs. 40-2 and 40-3.) Dr. Abdelghany is a critical care physician and a Fellow
of Infectious Diseases at the University of California, San Francisco. Dr. Abdelghany reviewed
Mathews's case in particular. In his first declaration. Dr. Abdelghany explains the risk of people
being re-infected with COVID-19 even after contracting it, and even after being vaccinated. He also
describes the risk of severe disease associated with coronavirus variants, such as the Delta variant,

a new variant ofthe virus that is spreading in the United States and causing some fully vaccinated
people to be hospitalized and die. In Miimesota, where Mathews was incarcerated when his
compassionate release motion was pending before Judge Mueller, the Alpha variant was the most
common,but the Beta variant was spreading quickly. Both variants have a 50 percent increased risk
oftransmission. The Alpha variant also likely bears an increased risk of severe disease and death.
Based on studies about whether COVID-19 vaccines are effective in preventing these variants
showing "variable results," Dr. Abdelghany concluded that Mathews remained at an "increased risk
of SARS-CoV-2 infection" even if he is vaccinated,"especially given his cun-ent incarceration in
Minnesota where the alpha variant — a virus with known ability to infect vaccinated patients — is
the most common cause of COVID-19 disease." (Doc. 40-2,^ 12.)
       Judge Mueller relied heavily on Dr. Abdelghany's opinions in granting Mathews's motion
for compassionate release. She noted that though the number of breakthrough cases in Minnesota
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were "thin," she would continue her practice of"err[ing] on the side ofcaution to avoid potentially
lethal consequences" and gave credence to Dr. Abdelghany's uncontradicted opinion that Mathews
faced an increased personal risk ofinfection by a variant while incarcerated in Minnesota. (Doe.40-
1,p. 11.) Mathews pointed out that,in an earlier wave ofCOVID-19,600 out of842inmates housed
at FCI Sandstone were infected with COVID-19. (Doe.44,p. 8.) Judge Mueller described the large
number ofincarcerated individuals having contracted COVID-19 in FCI Sandstone as a "worrying
sign ofthe condition ofthe prison." (Doe. 40-1, p. 13).
       After also finding reliable evidence based on Dr. Abdelghany's opinions that Mathews's risk
factors placed him at a high risk of severe consequences should he be reinfeeted with COVID-19,
Judge Mueller held that Mathews's risk of contracting serious COVID-19 is an extraordinary and
compelling reason for his release under § 3582(e)(l)(A)(i). (Doe. 40-1, pp. 9-14.) For the same
reasons urged before Judge Mueller in California District Court, Mathews asks this Court to reduce
his four-month sentence for escape to time served.
                                          DISCUSSION

       Title 18,§ 3582(e)(l)(A)(i),known as the"compassionate release provision"ofthe First Step
Act, Pub. L. 115-391, 132 Stat. 5194, provides in relevant part;
       [T]he court, upon motion ofthe Director of the Bureau of Prisons, or upon motion
       ofthe defendant... may reduce the term ofimprisonment(and may impose a term
       ofprobation or supervised release with or without conditions that does not exceed the
       unserved portion ofthe original term ofimprisonment), after considering the factors
       set forth in section 3553(a) to the extent that they are applicable, if it finds that(i)
       extraordinary and compelling reasons warrant such a reduction . .,. and that such a
       reduction is consistent with applicable policy statements issued by the Sentencing
       Commission.'
18 U.S.C. § 3582(c)(1)(A)(emphasis added). Prior to passage ofthe First Step Act,compassionate
release requests came to the Coiut"upon motion ofthe Director ofthe Bureau of Prisons." United
States V. Rodd, 966 F.3d 740, 745 (8th Cir. 2020). Now, a defendant may bring his or her own
motion with the Court if administrative remedies have been exhausted. Id at 744.




' 18 U.S.C. § 3582(c)(l)(A)(ii) does not apply because Mathews is 48 years old. He would need to
be at least 70 years old to qualify for compassionate release consideration under Section (ii).
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I. Administrative Exhaustion

       A district court may grant a sentence reduction upon motion ofthe defendant only "after the
defendant has fully exhausted all administrative rights to appeal a failure ofthe Bureau of Prisons
to bring a motion on the defendant's behalfor the lapse of30 days ftom the receipt ofsuch a request
by the warden of the defendant's facility, whichever is earlier." 18 U.S.C. § 3582(c)(1)(A). That
requirement is satisfied here. On October 30, 2020, Mathews submitted an Inmate Request for
compassionate release due to COVID-19. See United States v. Mathews,']So. 2:15-CR-00118,Doc.
172(E.D. Cal. Jan. 4, 2021). On November 13, 2020,the warden denied Mathews's request for a
reduction in sentence. Id. As more than thirty days have elapsed from the date that Mathews
submitted his request to the warden, the Court has jurisdiction to consider the motion. See United
States V. Morehouse, 2020 WL 2836188, at *2(D.S.D. June 1, 2020)(Judge Karen E. Schreier)
(motion for compassionate release is ripe for review where defendant submitted his request to the
warden and 30 days had passed since that date); United States v. Harris, 812 Fed. Appx. 106, 107,
2020 WL 4048690, at *1 (3rd Cir. July 20,2020)(reversing district court's dismissal for failure to
exhaust after government conceded that defendant was not required to completely exhaust the
administrative remedy process after warden denied his compassionate release request).
II. Extraordinary and Compelling Reasons
       Dr. Abdelghany's opinion that Mathews was at an increased risk of being reinfected while
incarcerated at FCI Sandstone in Minnesota no longer supports granting his motion for
compassionate release because he is serving the remaining portion of his four-month sentence in
home confinement and is no longer housed at FCI Sandstone. There is no evidence that Mathews
remains at a high risk of contracting COVID-19 in home confinement. The Court concludes that
Mathews has not shown extraordinary and compelling circumstances that justify a reduction in
sentence under 18 U.S.C. § 3582(c)(1)(A). Accordingly,


       IT IS ORDERED that defendant Michael Deshone Mathews's Motion for
        Compassionate Release, Doc. 40, is denied.
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     Dated this
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                   ^ day of October, 2021.

                                         BY THE COURT;




                                             vawrence L. Piersol
                                         United States District Judge

ATTEST:
MATTHEW W.THEI




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